                                                                         Case 2:19-bk-24804-VZ           Doc 394 Filed 02/28/20 Entered 02/28/20 13:30:54                         Desc
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                                                                         1   Richard M. Pachulski (CA Bar No. 90073)
                                                                             Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                         2   Malhar S. Pagay (CA Bar No. 189289)
                                                                             PACHULSKI STANG ZIEHL & JONES LLP                                        FILED & ENTERED
                                                                         3   10100 Santa Monica Blvd., 13th Floor
                                                                             Los Angeles, California 90067
                                                                         4   Telephone: 310/277-6910                                                         FEB 28 2020
                                                                             Facsimile: 310/201-0760
                                                                         5   E-mail: rpachulski@pszjlaw.com
                                                                                     jdulberg@pszjlaw.com                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                                                                        Central District of California
                                                                         6           mpagay@pszjlaw.com                                                 BY johnson DEPUTY CLERK


                                                                         7   Attorneys for Debtor and Debtor in Possession

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                                                                                                           UNITED STATES BANKRUPTCY COURT
                                                                         9
                                                                                         CENTRAL DISTRICT OF CALIFORNIA -- LOS ANGELES DIVISION
                                                                        10
                                                                             In re:                                                   Case No.: 2:19-bk-24804-VZ
                                                                        11
                                                                             YUETING JIA1,                                            Chapter 11
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12
                                                                                                              Debtor.                ORDER GRANTING DEBTOR’S MOTION
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13                                                           TO EXTEND THE DEADLINE TO
                                              ATTOR NE YS A T L AW




                                                                                                                                     ASSUME, ASSUME AND ASSIGN, OR
                                                                        14                                                           REJECT NONRESIDENTIAL REAL
                                                                                                                                     PROPERTY LEASES TO THE MAXIMUM
                                                                        15                                                           NUMBER OF DAYS AUTHORIZED BY 11
                                                                                                                                     U.S.C. § 365(D)(4)(B)(1)
                                                                        16
                                                                                                                                     [Relates to Docket No. 322]
                                                                        17
                                                                                                                                     [No Hearing Required]
                                                                        18

                                                                        19            Upon the Motion for an Order Granting Extension of the Deadline to Assume, Assume and

                                                                        20   Assign, or Reject Nonresidential Real Property Leases to the Maximum Number of Days Authorized

                                                                        21   by 11 U.S.C. § 365(D)(4)(B)(1) (the “Motion”)2 [Docket No. 322], filed by Yueting Jia, debtor and

                                                                        22   debtor in possession herein (“YT” or “Debtor”), seeking to extend the statutory deadline within

                                                                        23   which the Debtor may assume, assume and assign, or reject any unexpired non-residential real

                                                                        24   property leases for an additional (90) days, i.e. from February 11, 2020, through and including

                                                                        25   May 11, 2020, or through the date of entry of an order confirming a plan, whichever is earlier; and

                                                                        26   consideration of the Motion and the relief requested therein being a core proceeding pursuant to

                                                                        27
                                                                             1
                                                                               The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                        28     91 Marguerite Drive, Rancho Palos Verdes, CA 90275.
                                                                             2
                                                                               Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
                                                                         Case 2:19-bk-24804-VZ           Doc 394 Filed 02/28/20 Entered 02/28/20 13:30:54                Desc
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                                                                         1   28 U.S.C. 157(b)(2); and venue being proper pursuant to 28 U.S.C. §§1408 and 1409; and it

                                                                         2   appearing that the relief requested in the Motion is in the best interests of the Debtor’s estate; and the

                                                                         3   Debtor having provided appropriate notice of the Motion and the opportunity for a hearing on the

                                                                         4   Motion and no further notice being deemed necessary; and the Court having considered the Motion

                                                                         5   and all pleadings and papers filed in connection with the Motion and no objection to the granting of

                                                                         6   the Motion having been made; after due deliberation and sufficient cause appearing therefor,

                                                                         7          IT IS HEREBY ORDERED THAT:

                                                                         8          1.      The Motion is GRANTED.

                                                                         9          2.      The Debtor may assume, assume and assign, or reject any unexpired non-residential

                                                                        10   real property leases for an additional (90) days through and including May 11, 2020, or through the

                                                                        11   date of entry of an order confirming a plan, whichever is earlier.
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12          3.      The Court retains jurisdiction to interpret and enforce the terms of this Order.
                                           LOS ANGELES, C ALIFO R NIA




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                                              ATTOR NE YS A T L AW




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                                                                               Date: February 28, 2020
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